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May 18, 2022

BY ECF

Hon. Jesse M. Furman
Thurgood Marshall United States Courthouse 40
Foley Square New York, NY 10007

Re:      Jay Alix v. McKinsey & Co., Inc. et al., 18-CV-04141 (JMF)

Dear Judge Furman:

This firm represents Plaintiff Jay Alix in the above captioned matter. We write with reference
to the Court’s order of May 16, 2022 setting a conference for May 24, 2022, at 4 pm (Dkt.
158), and the Court’s order of May 18, 2022 rescheduling the conference to May 24, 2022 at
11:45 a.m. (Dkt. 159). Unfortunately, both myself and Sean O’Shea, lead counsel for Plaintiff,
will be out of the country on and around that date. Accordingly, Plaintiff respectfully requests
that the conference be rescheduled for May 31 or any other day later that week, preferably in
the morning if it suits the Court’s schedule. Defendants consent to a postponement of the
conference (to any day besides June 1, when they have a conflict), provided they receive a
commensurate extension of the motion to dismiss briefing schedule. Plaintiff consents to this
request.
                                                 The conference scheduled for May 24, 222, is
Respectfully submitted,                          rescheduled to May 31, 2022, at 9:45 a.m. All
                                                 other dates and deadlines (including the briefing
/s/ Michael E. Petrella_____________             schedule) remain in effect. The Clerk of Court is
Sean F. O’Shea                                   directed to terminate ECF Nos. 160 and 161.
Michael E. Petrella
Amanda L. Devereux                                                      SO ORDERED.
Cadwalader, Wickersham & Taft LLP
200 Liberty Street
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(212) 504-6000
                                                                        May 19, 2022
Counsel for Plaintiff Jay Alix




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